Case 8:25-cv-00243-TDC   Document 1-8   Filed 01/27/25   Page 1 of 9




                 Exhibit
           Case 8:25-cv-00243-TDC     Document 1-8     Filed 01/27/25   Page 2 of 9




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                 Plaintiffs,

 v.

 U.S. Department of Homeland                          Civil Case No. ___________
 Security, et al.,

                 Defendants.



                        DECLARATION OF SARAH GILLOOLY

      I, Sarah Gillooly, declare under penalty of perjury, under 28 U.S.C. § 1746, that

the following is true and correct:

  The history and structure of Baltimore Yearly Meeting of the Religious
                            Society of Friends

      1.    Baltimore Yearly Meeting of the Religious Society of Friends, Inc., is the

            association of the members of 43 local Quaker congregations—Monthly

            Meetings—in Maryland, Pennsylvania, Virginia, West Virginia, and

            Washington, D.C.

      2.    Baltimore Yearly Meeting is located at:

            17100 Quaker Lane

            Sandy Spring, MD 20912

                                              1
     Case 8:25-cv-00243-TDC     Document 1-8      Filed 01/27/25   Page 3 of 9



3.    Baltimore Yearly Meeting is a church and legally incorporated 501(c)(3)

      nonprofit organization.

4.    Baltimore Yearly Meeting has met continuously (except for a single year

      during the influenza pandemic) since 1672. It is the third oldest Yearly

      Meeting in the world.

5.    A Yearly Meeting in the Quaker religion is an association, a yearly

      gathering, and a way of describing Quakers within a certain region.

6.    The Yearly Meeting is the highest organizational body in the Religious

      Society of Friends.

7.    Monthly meetings are the heart and basic organizational unit in the

      Quaker religion. Generally, monthly meetings have their own governing

      instruments and budgets and own or rent a meeting house. Most

      community-based activities happen at monthly meetings.

8.    To be a monthly meeting in the Religious Society of Friends, a meeting

      must be recognized by the yearly meeting.

9.    Quarterly meetings are gatherings of monthly meetings. They gather 3-4

      times a year for worship and to make decisions about issues that concern

      the monthly meetings in the region. Many, but not all, monthly meetings in

      Baltimore Yearly Meeting are members of a quarterly meeting.

10. Baltimore Yearly Meeting is composed of an estimated 5,558 members from

      its 43 constituent Monthly Meetings, as well as several informal

      worshipping communities.
                                        2
  Case 8:25-cv-00243-TDC     Document 1-8     Filed 01/27/25   Page 4 of 9



11. Monthly meetings within Baltimore Yearly Meeting are guided by a

    common faith and practice.

12. Baltimore Yearly Meeting instructs its monthly meetings on minimum

    requirements to be recognized as a monthly meeting and retains the

    authority to discontinue a monthly meeting.

13. Each constituent monthly meeting sends an annual report to Baltimore

    Yearly Meeting on the spiritual state of the meeting. These reports are

    published for the information of all monthly meetings and are also

    summarized in the annual gathering. Baltimore Yearly Meeting will offer

    spiritual and practical support to monthly meetings based on the content of

    those reports.

14. Baltimore Yearly Meeting does not manage the budget of its monthly

    meetings. If a monthly meeting closes down, generally the monthly

    meeting’s assets transfer to Baltimore Yearly Meeting.

15. Monthly meetings fund Baltimore Yearly Meeting in part. Approximately

    1/6 of the budget of Baltimore Yearly Meeting comes from monthly

    meetings in the form of apportionment. These payments are made according

    to guidelines set by the yearly meeting, but each monthly meeting discerns

    the final amount.

16. A loss of members would harm the monthly meetings and Baltimore Yearly

    Meeting. Losing members would mean financial loss in addition to loss of

    spiritual and denominational unity.
                                     3
  Case 8:25-cv-00243-TDC        Document 1-8   Filed 01/27/25   Page 5 of 9



17. Baltimore Yearly Meeting gathers four times per year for worship,

    fellowship, and decision-making about the development of the Quaker faith

    in our region.

18. We understand those gatherings to be gathered meetings for worship.

19. When we meet, we understand the Yearly Meeting to be its own

    worshipping body. As part of the worshipping body, Baltimore Yearly

    Meeting has its own clerk and those who guide its religious development

    and service in the world.

20. Baltimore Yearly Meeting emphasizes that all Quakers in its region are

    part of our community. Its gatherings are attended by the members of its

    constituent monthly meetings and others who are not official members but

    are active participants in our worshipping body.

21. All are welcome to attend Baltimore Yearly Meeting’s gatherings. Baltimore

    Yearly Meeting would never turn anyone away, and we do not ask about

    immigration status.

22. It is generally understood that individuals not active in a monthly meeting

    will likely not play a substantial role in decision-making at Baltimore

    Yearly Meeting’s gatherings, but all are welcome to attend and to worship.

23. Because we believe that anyone can experience God directly, and that such

    experiences is to be shared with others, our faith requires us to welcome

    anyone who wants to join.

24. We understand ourselves to be part of a worldwide body of Quakers.
                                      4
  Case 8:25-cv-00243-TDC      Document 1-8     Filed 01/27/25   Page 6 of 9



25. Some of Baltimore Yearly Meeting’s constituent monthly meetings are

    located in areas with large populations of immigrants.

26. Some monthly meetings of Baltimore Yearly Meeting have a substantial

    number of active members or attenders who are immigrants, particularly

    African immigrants.

27. The Quakers have a long tradition of hosting people who come from places

    where there is ongoing violence or civil unrest. Our hospitality is an

    exercise of our faith. Our hospitality does not turn on someone’s legal

    status.

28. An important aspect of our faith in Baltimore Yearly Meeting is the practice

    of “intervisitation”—the spiritual practice of visiting Quakers from different

    parts of the world and different branches of Quakerism.

29. Practicing intervisitation is an important means of building and

    maintaining our relationship with our coreligionists across theological and

    geographical differences, as our Quaker faith requires.

30. As part of that effort, I and other members of Baltimore Yearly Meeting

    have attended events hosted by Evangelical Quakers, many of whom are

    Spanish-speaking.

31. In 2023, I was part of a delegation of Quakers to Kenya for a worldwide

    gathering with coreligionists.




                                      5
  Case 8:25-cv-00243-TDC      Document 1-8        Filed 01/27/25   Page 7 of 9



        My role in the Baltimore Yearly Meeting and my faith

32. I am General Secretary of Baltimore Yearly Meeting. The position is

    roughly equivalent to that of Executive Director for the organization.

33. As General Secretary, I serve as the legal agent and representative of

    Baltimore Yearly Meeting.

34. The position of General Secretary ultimately answers to the Trustees of

    Baltimore Yearly Meeting.

35. The General Secretary directly supervises approximately 12 staff members.

    Baltimore Yearly Meeting also employs approximately 150 seasonal

    workers in the four summer camps that it operates, which serve

    approximately 500 children.

36. I have been in my position for 3 1/2 years.

37. I am an active member of the Religious Society of Friends and a member of

    Adelphi Friends Meeting in Adelphi, Maryland.

38. I will complete my seminary education in Spring 2025 and am in the

    process to be recognized as a Recorded Minister.

39. I also volunteer part-time as a Quaker chaplain at a local hospital in

    Washington, D.C.

40. I believe that any immigration-enforcement action at a Quaker meeting

    house or at any place where a meeting for worship is occurring would cause

    serious harm to the religious exercise of Baltimore Yearly Meeting and its

    members in its constituent monthly meetings. And I believe that the threat
                                      6
  Case 8:25-cv-00243-TDC      Document 1-8      Filed 01/27/25   Page 8 of 9



    of immigration-enforcement actions at a Quaker meeting house or at any

    place where a meeting for worship is occurring causes serious harm to the

    religious exercise of Baltimore Yearly Meeting and its members in its

    constituent monthly meetings.

41. Knowing that immigration enforcement can happen at a monthly meeting,

    annual gathering, or other worship event, my ability be a servant-leader to

    these meetings is hampered, and I cannot be as encouraging of immigrants

    joining us for worship. As much as their presence would benefit our

    religious experience, I do not feel comfortable knowing that their

    attendance could subject them to armed federal officers.

42. Knowingly putting a person in harm’s way or subjecting them to the

    possibility of a violent encounter would violate my religious beliefs.

43. I believe that threatened or actual immigration-enforcement action near or

    inside a Quaker meeting house or at any place where a meeting for worship

    is occurring may lead some to refrain from attending worship services.

44. Quakers have held a religious commitment against taking up arms for more

    than 350 years. I do not recall ever seeing a gun, or a weapon of any kind,

    in a Quaker meeting.

45. The presence of armed law enforcement officers in or near a meeting house

    would cause significant harm. It would cause immediate and lasting

    disruption to our ability to worship.



                                      7
Case 8:25-cv-00243-TDC     Document 1-8    Filed 01/27/25   Page 9 of 9



 /!+/))/)/&')"$)/%/%# $/*')-(/$,/##')%$.

 $'#$)/&%!-/*'$(/%*'/ )-/)%/%$)$*/)/(&')* /&')/%

 $/)'+()/)%$



($)%$//
$*'-/ /  /




                                    /
